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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                       '
                     Plaintiff,                 '
v.                                              '         CIVIL ACTION NO. ___
                                                '
NINE FINANCIAL ACCOUNTS                         '
SIX REAL PROPERTIES,                            '
AND SIX VEHICLES,                               '
                                                '
Defendants.                                     '




                   VERIFIED COMPLAINT FOR CIVIL FORFEITURE
                  IN REM AND NOTICE TO POTENTIAL CLAIMANTS

       The United States of America, Plaintiff, files this action for forfeiture in rem against the

properties that are listed below (collectively referred to as the “Defendant Properties”). The

United States alleges on information and belief as follows:



                                 NATURE OF THE ACTION

       1.      The United States seeks the forfeiture of the Defendant Properties because they

constitute or were purchased with the proceeds of criminal activity, specifically fraud against the

Federal Employee Compensation Act (“FECA”) program, administered by the U.S. Department

of Labor, Office of Workers’ Compensation Programs (“DOL-OWCP”), and other federal

programs; and because the Defendant Properties are property involved in money laundering, in

order to conceal and disguise the proceeds, promote the carrying-on of an illegal fraud scheme,

avoid reporting requirements and to engage in monetary transactions with more than $10,000.00

in proceeds.
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         2.    Specifically, the Defendant Properties are the proceeds of numerous federal

criminal violations (the “Subject Offenses”), including but not limited to: Health Care Fraud, in

violation of Title 18 United States Code Section 1347; Mail Fraud, in violation of Title 18 United

States Code Section 1341; Wire Fraud, in violation of Title 18 United States Code Section 1343;

Conspiracy to Commit Mail Fraud, Wire Fraud, and Health Care Fraud, in violation of Title 18

United States Code Section 1349; False Statements Related to Health Care Matters, in violation of

Title 18 United States Code Section 1035; Conspiracy to Commit an Offense Against the United

States or to Defraud the United States, in violation of Title 18 United States Code Section 371;

Payment or Receipt of Kickbacks in Connection With a Federal Health Care Program, in violation

of Title 42 United States Code Section 1320a-7b(b). The Defendant Properties are also property

“involved in” Money Laundering, in violation of Title 18 United States Code Sections 1956 and

1957.




                                JURISDICTION AND VENUE

         3.    This Court has jurisdiction pursuant to 28 U.S.C. §§ 1345 and 1355.

         4.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1355, 1391(b) and 1395.




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                                  THE DEFENDANT PROPERTIES

            5.     The Defendant Properties are the following Financial Accounts (“Defendant

     Financial Accounts”):


            ACCOUNT
             HOLDER/              REFERENCE                                     APPROXIMATE
          INSTRUMENT                NAME          FINANCIAL       ACCOUNT         AMOUNT
          DESCRIPTION                            INSTITUTION         NO.        SEIZED IN US $
a.       Advance Pharmacy            BBT 1           BB&T           x4717         $386,110.38
b.       TruCare Pharmacy            BBT 2           BB&T           x7427         $806,821.00
c.       Shalondria Simpson          JPMC          JP Morgan        x2204          $15,196.24
                                Simpson Personal     Chase
                                   Checking
d.       Advance Pharmacy           JPMC 1         JP Morgan         x5623         $398,337.31
                                                     Chase
e.       TruCare Pharmacy           JPMC 2         JP Morgan         x2252         $618,999.54
                                                     Chase
f.        SRS Real Estate            JPMC          JP Morgan         x0729          $22,026.23
             Investment          SRS Real Estate     Chase
g.       Shalondria Simpson      JPMC Simpson      JP Morgan         x1962        $1,697,013.49
          Revocable Trust            Trust 1         Chase
h.       Shalondria Simpson      JPMC Simpson      JP Morgan         x5077         $231,827.75
          Revocable Trust            Trust 2         Chase
i.       Shalondria Simpson        C. Schwab     Charles Schwab      x3195        $1,000,000.00


     Real Properties (“Defendant Real Properties”):

                                        REAL PROPERTIES

                                         13405 Sunset Bay Ln
                                          Pearland TX 77584
                                             1219 Oahu Dr
                                         Tiki Island, TX 77554
                                          2331 Nashville Ave
                                        New Orleans, LA 70015
                                           4028 Chatham Ln
                                          Houston, TX 77027
                                        31 Riverstone Island Dr
                                         Sugarland TX 77479
                                            5213 Lillian St
                                          Houston, TX 77007

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and vehicles (“Defendant Vehicles”):

                                        VEHICLE                         VIN/Serial No.
                a.               2017 Blue Wave 2200 Pure                 Serial No.
                                           Bay                         PWV13872F617
                b.                      2016 Jaguar                        VIN
                                                                   SAJWA2GE1GMW02706
                c.                    2017 Land Rover                       VIN
                                                                    SALGS2FK6HA369005
                d.                   2018 Tesla 4dr SUV                     VIN
                                                                     5YJXCBE25JF104983
                e.               2021 Jeep Grand Cherokee                   VIN
                                                                    1C4RJFAG2MC753861
                f.                   2021 Mercedes G63                      VIN
                                                                   W1NYC7HJ4MX415540


                           STATUTORY BASIS FOR FORFEITURE

       6.      This is a civil action in rem brought to enforce the provisions of 18 U.S.C.

§ 981(a)(1)(C), which provides for the forfeiture of “[a]ny property, real or personal, which

constitutes or is derived from proceeds traceable to . . . any offense constituting ‘specified unlawful

activity’ (as defined in [18 U.S.C.] section 1956(c)(7) of this title), or a conspiracy to commit such

offense.” Pursuant to 18 U.S.C. § 1956(c)(7)(F), “any act or activity constituting an offense

involving a Federal health care offense” is a specified unlawful activity. A “Federal healthcare

offense” is specifically defined in 18 U.S.C. § 24(a) to include violations of 18 U.S.C. § 1347 and

1349 (health care fraud and conspiracy to commit health care fraud), 18 U.S.C. § 371 (conspiracy

to pay and receive health care kickbacks), and 42 U.S.C. § 1320a-7b(b) (paying and receiving

health care kickbacks and bribes).

       7.      This action is also brought to enforce the provision of 18 U.S.C. § 981(a)(1)(A),

which provides for the forfeiture of “[a]ny property, real or personal, involved in a transaction or

attempted transaction in violation of section 1956, 1957 or 1960 [of Title 18], or any property

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traceable to such property.” Under 18 U.S.C. § 1956(a)(1)(B)(i), it is unlawful for a person to

conduct or attempt to conduct a financial transaction with proceeds of a specified unlawful activity

knowing that the transaction is designed, in whole or in part, to conceal or disguise the nature, the

location, the source, the ownership, or the control of the proceeds of specified unlawful activity.

Under 18 U.S.C. § 1957, it is unlawful for a person to knowingly engage or attempt to engage in

a monetary transaction in criminally derived property of a value greater than $10,000 and that is

derived from specified unlawful activity.

                                            SUMMARY


       8.      Shalondria Simpson (“S. Simpson”) is a pharmacist who owned and operated

Advance Pharmacy (“Advance”) and Eclectic RX & Consulting, Inc. d/b/a TruCare Pharmacy

(“TruCare”). According to records from the Texas Secretary of State, Advance was formed in

November 2013 and TruCare was formed in July 2015.

       9.      AccuHealth refers to a group of medical clinics in the Dallas, Fort Worth, and

Corpus Christi, Texas-areas. AccuHealth is owned and operated by DOCTOR ONE, a medical

doctor and close relative of S. Simpson.

       10.     PHARMACIST ONE is a pharmacist and close friend of S. Simpson.

PHARMACIST ONE was the business manager for Advance and TruCare.

       11.     DOCTOR TWO is a medical doctor associated with CLINIC ONE which operates

clinics in Louisiana, Florida, and other locations (but not Texas). CLINIC ONE advertises

specialization in treating patients dealing with Federal workers’ compensation issues. DOCTOR

THREE is a Houston-based physician who treats patients dealing with Federal workers’

compensation issues.




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       12.     Advance and TruCare purported to provide medication to patients with Federal

workers’ compensation benefits(“claimants”), through the Federal Employee Compensation Act

(“FECA”) program, administered by the U.S. Department of Labor, Office of Workers’

Compensation Programs (“DOL-OWCP”), and other federal programs. However, S. Simpson,

DOCTOR ONE, PHARMACIST ONE, and others have committed the Subject Offenses through

their ownership and operation of Advance, TruCare, and AccuHealth by: (a) submitting false

claims to DOL-OWCP for high-reimbursing prescription medications allegedly provided to

claimants being treated by DOCTOR ONE, DOCTOR TWO, DOCTOR THREE, and other

providers when the medications were not, in fact, medications prescribed for the specific needs of

a particular patient 1; (b) using the U.S. mail system, FedEx, and UPS to auto-ship medications to

claimants’ residences, including items that were not prescribed by a physician, were not medically

necessary, and were not wanted or used by claimants; and (c) routinely “testing” the payor systems

to determine what drugs would bring the highest reimbursements and then submitting claims for

those drugs regardless of individualized patient need.

       13.     A review of billing data revealed that from approximately June 2015 through March

30, 2022, Advance billed DOL-OWCP over $155.8 million and was paid over $45 million for

services and products allegedly provided to federal workers. From April 2018 through March 30,

2022, TruCare billed DOL-OWCP over $18.7 million and was paid over $10.3 million for services

and products allegedly provided to federal workers. During that same time period, for services and

products allegedly provided to just USPS employees, Advance and TruCare combined billed DOL-



1
  This Complaint refers to “claimants” and “claimant cases.” A “claimant,” as described is a
federal worker claiming benefits through DOL-OWCP. A “claimant case” refers to the federal
worker’s treatment for injuries suffered on a particular date. A single claimant may have multiple
claimant cases.

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OWCP over $155 million and were paid over $49.4 million. Advance and TruCare also billed

DOL-OWCP for services purportedly provided to other federal employees.

       14.     Analysis of financial records revealed that the proceeds from the Subject Offenses

were used and continue to be used to fund S. Simpson and DOCTOR ONE’s other business

ventures, and to purchase luxury items and other valuable assets.


                              FECA PROGRAM INFORMATION

       15.     Title 18, United States Code, Section 24(b) defines a “health care benefit program”

as any “public or private plan or contract, affecting commerce, under which any medical benefit,

item, or service is provided to any individual,” and includes any individual or entity who is

providing a medical benefit, item, or service for which payment may be made under the plan or

contract. The FECA program is a health care benefit program as defined in this section.

       16.     The FECA program provides monetary compensation, medical care, and vocational

rehabilitation to civilian employees of the United States Government, including USPS employees,

for disability due to personal injury or disease sustained while in the performance of their official

duty. The FECA program is federally funded and is a “Federal health care program,” as defined by

42 U.S.C. § 1320-7b(f).

       17.     Claimants are entitled to receive, and FECA provides coverage for, medical

services, appliances, or supplies that a qualified physician prescribes or recommends and that

DOL-OWCP considers necessary to treat the work-related injury/disease.         Benefits are only

available while the effects of a work-related injury/disease continue.

       18.     All medical service providers are required to enroll with DOL-OWCP through a

designated bill processing agent. To enroll, a provider must complete and submit a “Provider

Enrollment Form” in which the provider lists the practice/provider’s name, physical address, e-

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mail address, and bank account information where payments from DOL-OWCP can be deposited,

among other things. By completing and submitting the Provider Enrollment Form, the provider

certifies that they satisfy all applicable Federal and State licensure and regulatory requirements.

The provider is also required to notify DOL-OWCP immediately if any information provided to

DOL-OWCP in the enrollment process changes.

       19.     After enrollment, providers may submit claims for payment and request pre-

authorization for certain services with a uniquely assigned provider identification number. To

receive reimbursement from DOL-OWCP for services rendered, providers must submit a “Health

Insurance Claim Form.” DOL-OWCP payments are processed outside of Texas and claims

electronically submitted to DOL-OWCP from Texas are done through the use of interstate wires.

       20.     Based on FECA program regulations, by submitting a bill and/or accepting

payment, the provider certifies that the service for which reimbursement is sought was performed

as described, necessary, appropriate, and properly billed in accordance with accepted industry

standards. In addition, the provider certifies that they are in compliance with all applicable

regulations concerning rendering treatment and/or the process for seeking reimbursement for

medical services.

       21.     The Longshore and Harbor Workers’ Compensation Act is a federal law that

provides for the payment of compensation, medical care, and vocational rehabilitation services to

employees disabled from on-the-job injuries. The Division of Federal Employees’, Longshore and

Harbor Workers’ Compensation (“DFELHWC”) administers FECA, among other programs, and is

in part responsible for determining what medications related federal programs will pay for.




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                         CONDUCT GIVING RISE TO FORFEITURE

       22.     The business relationships that Advance and TruCare have with other medical

facilities that refer patients are indicative of fraud. For example, DOCTOR ONE has directed

health care providers at her clinics (AccuHealth) to direct prescriptions for medications with high

reimbursements from DOL-OWCP to Advance and/or TruCare. Those patients are prescribed the

same medications—regardless of the patient’s condition, diagnosis, time since original injury, or

other factors—and that the medications are prescribed based on the reimbursement the medication

will provide to S. Simpson.    These prescriptions are formulated contrary to the intended purpose of

prescription medications, which are supposed to be prescribed for the specific needs of a specific

patient with a specific condition, not based on reimbursement rate. Advance and TruCare also

submitted claims to DOL-OWCP for medications that were never provided to the patients, many of

which reimbursed at several thousands of dollars. These claims were submitted electronically

through the use of interstate wires.

       23.     For example, according to billing data from November 2018 to April 2020,

approximately 73.76% of AccuHealth’s USPS-employed patients (claimants) received medication

dispensed from Advance/TruCare. The data revealed that during that time period, Advance and

TruCare submitted over $1.1 million in billing to DOL-OWCP for medications allegedly provided

to AccuHealth claimants and were paid approximately $703,000 on those claims, which were for

medications allegedly provided on 278 claimant cases. Most of the billing was for high-cost

topical ointments and patches. According to the ECOMP 2 records of AccuHealth claimants, most


2
  ECOMP, or the DOL-OWCP Employees’ Compensation Operations and Management Portal
system, is an online records system used by the DOL that allows medical providers to upload
medical reports, forms requesting authorization for medical care and treatment, and other records
related to a specific injury for a specific claimant. Claimants and other stakeholders also have
access to information contained in the ECOMP system.

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files contained no discussion or objective rationale to support the prescriptions for these

prescription drugs, and many of the prescriptions appear to have been prescribed without any

treatment visit or examination. In some instances, the prescriptions continued even when claimants

had not been seen by the prescriber for over 18 months.

Former Employee Interviews

       24.     Investigators interviewed Employee 1, a former AccuHealth employee, on April 8,

2021. Employee 1 verified that DOCTOR ONE directed AccuHealth Dallas employees to send

prescriptions for patients, who were claimants, to Advance and TruCare.       Employee 1 recalled S.

Simpson came to AccuHealth Dallas and gave a presentation on Advance and TruCare

pharmacies, essentially marketing the pharmacies to employees of AccuHealth Dallas.

Employee 1 said DOCTOR ONE told Employee 1 that DOCTOR ONE had no stake in any of S.

Simpson’s pharmacies.

       25.     According to Employee 1, AccuHealth Dallas uses a “template” prescription for

compound medications sent to Advance and TruCare, which upon information and belief, is a

common practice at pharmacies fraudulently billing for compounded medications.          Employee 1

said the formulary changed frequently and the changes seemed to be based on whatever was being

reimbursed by payors at the time.

       26.     Investigators interviewed Employee 2, a former Advance employee, on May 26,

2021. Employee 2 described instances when boxes of medications that had been sent to a claimant

were returned to Advance, marked “return to sender” or “undeliverable.” Instead of reversing the

charges, PHARMACIST ONE would direct Employee 2 to resend the box on the claimant’s next

refill date and rebill for the same medication. Employee 2 also recalled that claimants called

Advance and complained that they were receiving scar creams/patches when they did not have



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scars.    According to Employee 2, whenever reimbursements went down, PHARMACIST ONE

researched to determine which drugs, utilizing their National Drug Codes (“NDC”), 3 had the

highest reimbursements, and those products were then substituted into the prescriptions.

         27.   Investigators interviewed Employee 3, a former Advance employee, on October 7,

2021. Employee 3 who had nineteen years of experience as a pharmacy technician and had

concerns after starting to work at Advance. Employee 3 noticed that only four types of

prescriptions were sent to claimants from Advance: two types of patches, one cream, and one other

prescription that Employee 3 could not recall.


Claimant Interviews

         28.   Claimant A.C. was interviewed on September 24, 2021. A.C. said s/he has been

treated by DOCTOR THREE for longer than two years and uses Walgreens Pharmacy to get

her/his prescription medications. A.C. said s/he began getting packages of medications from

Advance but does not recall how long s/he has been getting the medications. A.C. said s/he did not

take any of the oral medications that came from Advance because s/he did not believe that

DOCTOR THREE prescribed the medications that Advance mailed her/him. A.C. said s/he threw

away most of the medications s/he received in the mail because s/he did not want or need the

medications. Although A.C. does not suffer from heartburn, many of the bottles of medications

s/he received from Advance were for omeprazole-sodium bicarbonate, a medication commonly

used to treat heartburn. A.C. said s/he does not take the medication as s/he does not need it, did not

request it, and did not want it. AC said s/he did use some of the lidocaine lotion and the patches


3
  For billing purposes, medications are categorized through the NDC Directory, which contains
product listing data submitted for all finished drugs including prescription and over-the-counter
drugs, approved and unapproved drugs and repackaged and relabeled drugs. NDC numbers
consist of 11 digits in a 5-4-2 format.

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sent to her/him by Advance but said s/he received so much of the lidocaine lotion s/he could not

possibly use all the medication.

       29.     According to claims data, DOL-OWCP paid Advance approximately $956,675.08

for medications allegedly provided to patient A.C. between 2016 and June 2021, based on

prescriptions allegedly ordered by DOCTOR THREE. Investigators obtained A.C.’s patient record

from DOCTOR THREE’s office, which does not have any references to prescriptions or

authorizations for the prescription medications allegedly provided to A.C. by Advance. Nor are

there any copies of prescriptions or letters of medical necessity for the medications in A.C.’s

ECOMP file.

       30.     Claimant T.J. was interviewed on September 26, 2021. T.J. said s/he has been

treated by DOCTOR THREE and uses CVS Pharmacy to obtain prescription medications. T.J. said

OFFICE MANAGER ONE, DOCTOR THREE’s office manager, told her/him about Advance and

arranged for medications to be mailed to T.J. from Advance. T.J. received medicated patches,

lotions, creams and “generic pills” from Advance. T.J. was surprised when s/he received oral

medications from Advance because s/he knew DOCTOR THREE had not prescribed the oral

medications. Although DOCTOR THREE did discuss medicated patches with T.J. and told

OFFICE MANAGER ONE to “set [her/him] up with them,” DOCTOR THREE never discussed

the compound creams or lotions with T.J.

       31.     T.J. reported receiving too many medications that s/he did not want or need from

Advance and that Advance seemed to change the creams s/he was receiving almost every month.

Advance was also inconsistent in shipping medications, as the medications did not come every

month. T.J. said someone from Advance would call and tell her/him the cream s/he was using was

no longer available and they were going to send her/him a different cream. At one point, T.J.



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started receiving patches in the mail from Advance that came in Ziploc bags, which concerned T.J.

and prompted her/him to call Advance. In that call, T.J. spoke to a woman who identified herself

as the owner and T.J. asked the woman if Advance was taking the patches out of a box and giving

them to different customers. The woman denied that Advance was dividing the patches among

customers and said she would send T.J. additional patches, which T.J. received.

       32.    T.J. said s/he had not received any medications from Advance in over three months

and has gone for as many as seven months without receiving medications from Advance.

However, billing data indicates that Advance billed for thousands of dollars of compound

medications allegedly provided to T.J., starting in September 2016, continually through at least

April 2021 (missing only four months).

       33.    At one point T.J., who does suffer from heartburn, asked DOCTOR THREE for a

prescription for medication to help with heartburn, which DOCTOR THREE refused because T.J.

could treat her heartburn with over-the-counter medications. Notwithstanding DOCTOR THREE’s

refusal to prescribe such medication, DOL-OWCP paid Advance over $55,000 for omeprazole-

sodium bicarbonate, purportedly prescribed to T.J. by DOCTOR THREE. Between September

2016 and July 2021, Advance was paid over $860,000 for medications allegedly provided to T.J.

and allegedly authorized by DOCTOR THREE.

       34.    Claimant R.J. was interviewed on October 1, 2021. R.J. said s/he was treated at

AccuHealth by DOCTOR ONE and a nurse practitioner, NURSE PRACTIONER ONE, and

received two boxes filled with creams and pain patches from TruCare that s/he never used. R.J.

said every time s/he was seen at AccuHealth, NURSE PRACTIONER ONE tried to push refills on

her/him, which R.J. repeatedly declined. Notwithstanding R.J.’s refusal, TruCare continued to send

medications to R.J.



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DOCTOR THREE and OFFICE MANAGER ONE

       35.     An analysis of billing data revealed that DOL-OWCP paid Advance and TruCare

approximately $5.8 million dollars for prescriptions purportedly dispensed to 26 claimants based on

prescriptions DOCTOR THREE issued.

       36.     Additionally, DOCTOR THREE’s former office manager, OFFICE MANAGER

ONE, used DOCTOR THREE’s signature stamp to approve prescriptions for claimants being

treated by DOCTOR THREE. On August 9, 2021, investigators interviewed DOCTOR THREE,

who said he did not authorize the prescriptions for the patients for which Advance and TruCare

ultimately billed DOL- OWCP, nor did he authorize OFFICE MANAGER ONE to use his

signature stamp. OFFICE MANAGER ONE admitted that she ordered prescriptions for claimants

through Advance and that Advance was the only pharmacy from which she ordered medications

for claimants. OFFICE MANAGER ONE said someone at Advance would fax prescriptions to

her, already filled out, and she would “sign for them” to approve the prescriptions. OFFICE

MANAGER ONE denied receiving money from Advance or any other party in exchange for

authorizing the prescriptions. However, according to phone toll records, OFFICE MANAGER

ONE was in contact with S. Simpson at least 307 times between June 1, 2016, and August 9, 2021.

                               Analysis Conducted by USPS-OIG

       37.     USPS-OIG investigators analyzed billing patterns for Advance and TruCare using

DOL-OWCP reimbursements to Advance and TruCare for USPS claimants from January 1, 2018,

through May 2021. As described in the following paragraphs, the analysis identified multiple

trends that are indicative of fraud.

Amount of Collections from Banned NDCs




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       38.     The analysis revealed that during the period reviewed, both Advance and TruCare

billed for an unusually high number of NDCs that were ultimately banned for reimbursement by

DOL-OWCP.        For the period reviewed, TruCare submitted claims for 434 different NDCs,

resulting in a total reimbursement from DOL-OWCP in the amount of $6,826,420.43. Of those

434 NDCs, 105 were ultimately banned by DOL-OWCP, and the DOL-OWCP reimbursements

resulting from those NDCs alone was $5,666,168.14, or 83% of its DOL-OWCP collections for

USPS claimants. During the same time, Advance billed for 248 different NDCs, resulting in a total

reimbursement of $17,575,905.74. Advance similarly billed for 105 different NDCs that were

ultimately banned by DOL-OWCP, resulting in a reimbursement of $14,634,705.93, or 83.3% of

total collections for USPS claimants.

First-Day Billing Tests

       39.     The analysis revealed a pattern where, on the first day that Advance or TruCare

submitted a claim to DOL-OWCP for any particular NDC, that claim was reversed as a “Point of

Sale” error. In some instances, billing in earnest would begin shortly thereafter; in other instances,

no subsequent bills were ever submitted for the NDC.

       40.     Specifically, of the 434 NDCs that TruCare billed, 179 were billed and reversed on

the first day that those NDCs were billed to DOL-OWCP, resulting in a zero-net payment from

DOL-OWCP on the first day of submission. In other words, for approximately 41% of the drugs

TruCare billed, it submitted a claim for that drug, waited for DOL-OWCP to reimburse that claim,

and then later represented to DOL-OWCP that the claim was in error. Further, of the 179 NDCs

billed and reversed, 107 were never later submitted for a paid claim. In other words, almost 25%

of the drugs TruCare submitted through the DOL-OWCP system were backed out and never

resubmitted.



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       41.     Similarly, of the 248 NDCs Advance billed DOL-OWCP, 125 were billed and

reversed on the first day that those NDCs were submitted to DOL-OWCP, resulting in a zero-net

payment from DOL-OWCP on the first day of submission. In other words, for approximately 50%

of the drugs Advance billed, it submitted a claim for that drug, waited for DOL-OWCP to

reimburse that claim, and then later represented to DOL-OWCP that the claim was in error.

Further, of 125 NDCs billed and reversed, 86 were never later submitted for a paid claim. In other

words, almost 35% of the drugs Advance submitted through the DOL-OWCP system were backed

out and never resubmitted.

       42.     This “test billing” demonstrates that TruCare and Advance were attempting to learn

how much DOL- OWCP would reimburse on a given NDC, a figure that DOL-OWCP does not

make available. This kind of test billing is indicative of fraud as it suggests that medication is

identified and dispensed based on reimbursement rates rather than patient need pursuant to a

legitimate prescriber-patient relationship.

Coordination of First-Day Billing Tests

       43.     The analysis revealed there were multiples instances where one S. Simpson-owned

pharmacy submitted a claim for an NDC for the first time and reversed it after DOL-OWCP

reimbursed, and shortly thereafter, the other S. Simpson-owned entity began billing in earnest for

that NDC. For example, TruCare billed DOL-OWCP for a drug assigned NDC 70981-0601-01 for

the first time on February 24, 2021, and then reversed payment. The next day, Advance submitted

claims for this NDC, resulting in a $394,951.87 payment from DOL-OWCP in a single day. As

another example, TruCare billed DOL-OWCP for a drug assigned NDC 7308-60904-98 for the

first time on April 15, 2021, and then reversed payment. Less than a week later, Advance

submitted claims to DOL-OWCP for this NDC, resulting in a $325,004 payment from DOL-



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OWCP in a single day. For each of these two compounds, DOL canceled the NDCs on March 10,

2021, and April 28, 2021, respectively—within a month of Advance and TruCare’s first claims. In

my training and experience, this is indicative of fraud because it suggests that medication is

identified and dispensed based on reimbursement rates rather than patient need pursuant to a

legitimate prescriber-patient relationship.

Advance and TruCare’s Use of Marketers

       44.     Financial analysis revealed that between December 2014 and November 2018,

Advance paid individuals and entities—identified by investigators as marketers—based on open-

source research, Secretary of State records, bank records, and information learned in other

investigations. According to records from BB&T, S. Simpson reported in September 2016 to

BB&T that Advance was withdrawing cash from BB&T to pay marketers. S. Simpson also told

bank personnel that she was breaking up her cash transactions in order to avoid the bank’s

reporting requirements. Financial analysis revealed that between July 2015 and March 2, 2021, S.

Simpson withdrew approximately $1,073,196.06 in cash from the business operating accounts of

Advance and TruCare. Based on my training and experience, cash withdrawals to pay marketers,

especially in conjunction with the attempt to avoid bank reporting requirements, is indicative of

illegal kickback relationships between S. Simpson and marketers.

Kickback/Business Agreement with S. Simpson and DOCTOR ONE

       45.     Emails between S. Simpson and DOCTOR ONE demonstrate a kickback

arrangement between the two. For example, in one email exchange, in November 2019, between S.

Simpson and DOCTOR ONE, DOCTOR ONE writes to S. Simpson that she wants to know how

much money is coming in on S. Simpson’s end, and that S. Simpson has more prescriptions going to

her now than she would without her (DOCTOR ONE):



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       46.     Specifically, on or about November 12, 2019, DOCTOR ONE sent an email to

SIMPSON with the subject line “One other thing,” including a message about prescription referrals

from Accuhealth to TruCare and Advance, including: “I would like to see each month how much

money is coming in on your end from the scripts we write. Let’s face it, the amount may not be

what you thought it was going to be when you bought the clinic, but it’s more than what you would

have coming in otherwise.” On or about November 13, 2019, SIMPSON responded via email:

“The agreement we made before I bought the clinic was that all prescriptions would be coming to

my pharmacy. Otherwise I would not have bought Accuheatlh [sic] for 2.5 million dollars.”

Kickback/Business Agreement with S. Simpson and CLINIC ONE

       47.     Advance’s financial records demonstrate the kickback arrangement between S.

Simpson and the owner of CLINIC ONE. Despite being located in different states, DOL-OWCP

paid Advance approximately $27 million based on prescriptions purportedly authorized by

prescribers at CLINIC ONE between 2016 and 2022. Starting in 2016, and continuing through at

least 2021, S. Simpson used Advance’s BB&T operating account to pay CLINIC ONE’s owner,

often through shell companies. For example, from in or around September 2016, through in or

around November 2016, S. Simpson paid approximately $167,000 to an account controlled by a

close family member of CLINIC ONE’s owner. Much of that money was then transferred for the

benefit of CLINIC ONE’s owner. And from in or around October 2016, to in or around July 2021,

S. Simpson paid approximately $1.85 million to an account controlled by an accountant hired by

CLINIC ONE’s owner. Much of that money was then transferred for the benefit of CLINIC

ONE’s owner.




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                            THE MONEY LAUNDERING SCHEME

       48.     In addition to perpetrating the underlying fraud and kickback scheme described

above, S. Simpson and DOCTOR ONE also committed money laundering through the movement

of criminal proceeds as part of a “layering scheme” to conceal or disguise the true nature and

source of the proceeds.

       49.     The proceeds were then used to purchase multiple luxury houses, vehicles,

watercrafts, jewelry, and vacations; to set up additional businesses such as AirBnB rentals, the

TruEssence Medical and Cosmetic Spa, and a medical marijuana operation; and to fund a lavish

lifestyle that included travel to places like Dubai, Las Vegas and luxury resorts. Specifically, S.

Simpson utilized a web of financial accounts and related business entities to provide a veneer of

legitimacy to the fraud and money laundering schemes in order to conceal the true nature,

source, and ownership of the criminal proceeds.

       50.     As an example, in September 2016, S. Simpson reported to BB&T representatives

that Advance was withdrawing cash from BB&T bank to pay marketers. S. Simpson advised

bank personnel the reason she was breaking up her cash transactions was so she could pay

marketers that would only accept cash as payment. Financial analysis revealed that between

July 2015 and March 2, 2021, Simpson withdrew approximately $1,073,196.06 in cash from the

business operating accounts of Advance and TruCare. This use of cash withdrawals was

undertaken in an attempt to conceal the nature, ownership and source of proceeds, avoid

reporting requirements, and avoid detection by law enforcement.

       51.     A review of financial records also indicated that S. Simpson utilized “counter

checks” to withdraw and conceal cash as part of the money laundering scheme. Between July

2015 and March 31, 2022, S. Simpson withdrew 130 total counter checks totaling $1,125,741.46.



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17 of these counter checks were redeposited into accounts held by S. Simpson totaling

$100,100.00. 112 of the counter checks totaling approximately $939,039.46 have not been

matched to known deposits. It is a common money laundering scheme for counter checks to be

utilized as an alternative method to cash, and to launder or conceal currency, as it is easier to

conceal counter checks in various amounts than it is to carry around large amounts of paper

currency.

       52.      This use of cash transactions to avoid reporting requirements, and the use of

counter checks, strongly indicate that the S. Simpson was attempting to conceal the nature and

source of her funds, specifically that the funds actually constituted fraud and kickback proceeds.

This was buttressed by the use of business accounts that provided a veneer of legitimacy to the

fraud scheme.

       53.      S. Simpson also utilized proceeds from her fraud scheme to pay expenses

associated with her businesses, invest in spin-off businesses, and further perpetuate her fraud

scheme. In doing so, she violated numerous money laundering statutes including: 18 U.S.C.

§§ 1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 1956(a)(1)(B)(ii) and 1957.

       54.      Between June 2015 and July 31, 2022, Advance and TruCare received a total of

approximately $53,840,532.28 (“proceeds”) from DOL-OWCP for the reimbursement of

pharmaceutical services (i.e. purportedly dispensed compound medications) via deposits into: (1)

BB&T (Truist) bank account ending in 4717, which is held in the name of Advance Pharmacy

LLC Operating Account; (2) BB&T (Truist) bank account ending in 7427, which is held in the

name of Eclectic RX Consulting Inc DBA TruCare Pharmacy; (3) JP Morgan Chase bank

account ending in 5623, held in the name of Advance Pharmacy LLC; and (4) JP Morgan Chase

bank account ending in 2252, held in the name of Eclectic RX Consulting Inc.



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         55.   Investigators then traced all $53,840,532.28 of proceeds that were eventually

transferred through and to various banks, personal, business and investment accounts, and real

estate utilizing the Lowest Intermediate Balance Rule (“LIBR”).

         56.   LIBR is an accounting method used to trace commingled criminal proceeds. The

rule assumes the criminal subject spends “clean” money (funds not shown to be associated with

crimes) prior to spending any criminally obtained funds. In doing so, criminal proceeds “sink”

to the bottom of the account and are generally the last funds used when there are withdrawals

from the bank account. If the account balance falls below the amount of criminal proceeds

deposited into the account, then the amount of criminal proceeds sitting in the account is reduced

to the amount of the low balance. Financial investigators used the LIBR method, when

applicable, when tracing criminal proceeds into and between the accounts described further

below.

         57.   The Defendant Properties each have a percentage of “fraud deposits” or “proceed

deposits” associated with each account or asset, which corresponds to the proceeds of specified

unlawful activities tied to each account or asset. Importantly, during the period analyzed, S.

Simpson had no substantial source of legitimate income; furthermore, prior to the beginning of

the fraud scheme, S. Simpson had de minimis account balances in all known accounts. Therefore,

the fraud percentages assigned to each account/asset are a conservative floor, calculated through

direct tracing of fraud proceeds. In reality, the fraud percentages approach 100% once layering

between the accounts is accounted for, as virtually all sources of income in the S. Simpson

financial ecosystem are fraud proceeds or come from assets/accounts obtained with fraud

proceeds.

         58.   Furthermore, even if the Defendant Properties were funded with non-proceeds,



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money laundering forfeitures under 18 U.S.C. § 981(a)(1)(A) authorize the forfeiture of all

property involved in money laundering transactions (even if some portion of the funds are

“clean” or otherwise unidentifiable).

         59.       In short, the financial investigation determined that businesses and banking

activity of S. Simpson were permeated by fraud, kickbacks, and money laundering.



         DEFENDANT FINANCIAL ACCOUNTS ARE SUBJECT TO FORFEITURE

         60.       The Defendant Financial Accounts reiterated below are all subject to forfeiture as

they contain proceeds of the underlying fraud and kickback scheme and constitute property

involved in money laundering.



                                                 APPROXIMATE       LIBR
           ACCOUNT             REFERENCE ACCOUNT   AMOUNT       ATTRIBUTED
            HOLDER               NAME    NO.     SEIZED IN US $  PROCEEDS

    a.          Advance            BBT 1            x4717           $386,110.38          $386,022.38
               Pharmacy
    b.          TruCare            BBT 2            x7427           $806,821.00          $804,680.72
               Pharmacy
    c.         Shalondria         JPMC              x2204            $15,196.24          $14,948.76
                Simpson          Simpson
                                 Personal
                                 Checking
    d.    Advance                JPMC 1             x5623           $398,337.31          $356,897.31
          Pharmacy
    e.     TruCare                JPMC 2            x2252           $618,999.54          $610,274.42
          Pharmacy
    f. SRS Real Estate             JPMC             x0729            $22,026.23           $8,033.40
         Investment               SRS Real
                                   Estate
    g.   Shalondria                JPMC             x1962          $1,697,013.49       $1,696,979.74
          Simpson                 Simpson
       Revocable Trust             Trust 1
    h.   Shalondria                JPMC             x5077           $231,827.75         $231,827.75
          Simpson                 Simpson

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      Revocable Trust        Trust 2
   i.   Shalondria          C. Schwab         x3195          $1,000,000.00       $999,618.17
         Simpson


BBT 1

        61.   BBT 1 is listed on the DOL-OWCP Provider Enrollment Form as the business

account listed to be utilized for direct deposits and reimbursements for Advance Pharmacy. An

analysis of BBT 1 conducted between June 2015 and September 2021 revealed 88% of all

deposits are from DOL-OWCP. Proceeds traced into BBT 1 for that time period total

$47,785,823.44. This account served as the primary receiving account for proceeds from the

fraud scheme deposited by DOL-OWCP.

BBT 2

        62.   An analysis of BBT 2 conducted between June 2018 and September 2021

revealed 90% of all deposits are from DOL-OWCP. Between June 2018 and September 2022,

BBT 2 received $9,777,652.66 from DOL-OWCP in traced proceeds. Additionally, on October

4, 2017, S. Simpson deposited a check into BBT 2 in the amount of $100,000.00 from her

personal checking account (JPMC Simpson Personal). On April 18, 2018, S. Simpson

deposited an additional $100,000.00 into BBT 2 from BBT 1.

JPMC 1

        63.   Between October 2021 and July 31, 2022, JPMC 1 received $1,643,522.51 from

DOL-OWCP in traced proceeds via deposits. Analysis revealed 67% of all deposits between

October 2021 and July 31, 2022 were from DOL-OWCP traced proceeds. Additionally, on

October 1, 2019, S. Simpson deposited $40,000 into JPMC 1 from account BBT 1; and again on

January 12, 2021, S. Simpson deposited $50,000.00 into JPMC 1 from BBT 1.




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JPMC 2

       64.     Between August 2021 and May 2022, JPMC 2 received $1,106,086.43 from

DOL-OWCP in traced proceeds via deposits. Analysis revealed between August 2021 and May

2022, 97% of all deposits into JPMC 2 consisted of DOL-OWCP deposits.

JPMC Simpson Personal

       65.     Between June 2015 and March 31, 2022, S. Simpson transferred a total of

$7,566,043.00 via proceeds from BBT 1. She also transferred a total of $770,000.00 from the

BBT 2 account. JPMC Simpson Personal was utilized to receive funds from various other

accounts that S. Simpson operated, with fraud proceeds from the DOL-OWCP being the primary

source of funds. Multiple Defendant Properties were purchased out of JPMC Simpson Personal

utilizing proceeds from DOL-OWCP deposits. For example, JPMC Simpson Personal funded

the following purchases (each of which constitutes at least one, if not several violations of 18

U.S.C. §§ 1956, 1957):

       66.     In or around April/May 2017, JPMC Simpson Personal was used for a

$756,587.25 transaction to purchase 1219 Oahu Dr., Tiki Island, TX 75554 utilizing fraud

proceeds.

       67.     On or around November 1, 2017, JPMC Simpson Personal was used for a

$72,093.69 transaction to purchase a Jaguar (one of the Defendant vehicles) utilizing fraud

proceeds.

       68.     On or around November 17, 2017, JPMC Simpson Personal was used for a

$134,679.47 transaction to purchase a Land Rover (one of the Defendant vehicles) utilizing fraud

proceeds.




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       69.     In or around March 2018, JPMC Simpson Personal was used for a

$1,008,648.28 transaction to purchase 2331 Nashville New Orleans, LA 70015, utilizing fraud

proceeds.

       70.     In or around September 2018, JPMC Simpson Personal was used for a

$1,668,677.70 transaction to purchase 4028 Chatham Ln, Houston, TX 77027, utilizing fraud

proceeds.

JPMC Simpson Trust 1

       71.     On or around June 25, 2021, S. Simpson deposited $3,500,000.00 into JPMC

Simpson Trust 1 with the source of funds being proceeds from BBT 2. That same date, S.

Simpson also deposited $1,500,000.00 into JPMC Simpson Trust 1 with the funds originating

from proceeds contained in BBT 1. As a result, JPMC Simpson Trust 1 was completely

funded by proceeds and all transaction originating from JPMC Simpson Trust 1 contain

proceeds.

       72.     On or around November 2, 2021, S. Simpson made a payment to Patten Title

Company from JPMC Simpson Trust 1 in the amount of $2,061,622.83. This amount was

revealed to be a purchase for a property (1.04-acre lot) located at 31 Riverstone Island Drive,

Sugarland, TX 77479. This transaction was also funded with illegal proceeds.

       73.     On or around November 17, 2021, S. Simpson transferred $221,000.00 into

JPMC Simpson Trust 1 from JPMC 1; on the same date, S. Simpson also transferred

$120,000.00 into JPMC Simpson Trust 1 from JPMC 2.

JPMC Simpson Trust 2

       74.     On or around July 7, 2021, S. Simpson transferred $500,000.00 into JPMC

Simpson Trust 2 from JPMC Simpson Trust 1. As a result, JPMC Simpson Trust 2 was



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completely funded by proceeds and all transaction originating from JPMC Simpson Trust 2

contain proceeds.

       75.       On or around November 29, 2021, S. Simpson made a purchase from Legacy

Auto for a 2021 Jeep Grand Cherokee (a Defendant Vehicle) in the amount of $44,250.00

utilizing fraud proceeds from JPMC Simpson Trust 2.

       76.       Simpson also transferred a total of $265,000.00 from JPMC Simpson Trust 2 to

her personal account (JPMC Simpson Personal). These consisted of the following transactions:

$50,000.00 on August 30, 2021; $100,000.00 on November 17, 2021; $100,000.00 on January 4,

2022; and $15,000.00 on March 24, 2022; and $500,000.00 on May 17, 2022. Each of these

transactions consisted of fraud proceeds in violation of 18 U.S.C. §§ 1956, 1957.

JPMC SRS Real Estate

       77.       This financial account was used to manage S. Simpson’s real estate properties. On

February 24, 2021, S. Simpson transferred $100,000.00, via check #1047, from BBT 2 to JPMC

SRS Real Estate. S. Simpson also transferred a total of $70,000.00 from JPMC Simpson Trust

2 in two transactions: $60,000 on or around February 10, 2022; and $10,000 on or around March

2, 2022.

       78.       Analysis showed that at least $64,176.00 was transferred back from JPMC SRS

Real Estate into JPMC Simpson Personal for her use. These transactions also constitute

violations of 18 U.S.C. § 1956, and for the transactions exceeding $10,000, violations of 18

U.S.C. § 1957.

C. Schwab

       79.       On or around May 15, 2017, S. Simpson transferred $1,000,000.00 from BBT 1,

via check #1732, into C. Schwab, where the funds remained until they were seized. This



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transaction constituted a violation of 18 U.S.C. §§ 1956, 1957, and comprises the funds of the

Defendant Financial Account seized from Charles Schwab.

       80.     As a result, each of the Defendant Financial Accounts is subject to forfeiture, both

as proceeds of the underlying fraud scheme (as violations of 18 U.S.C. §§ 1341, 1343, 1347 and

1349), and as property involved in money laundering (as violations of 18 U.S.C. §§ 1956,1957).



         DEFENDANT REAL PROPERTIES ARE SUBJECT TO FORFEITURE


13405 Sunset Bay Ln, Pearland, TX 77584

       81.     In or around June and July 2015, S. Simpson purchased a property at 13405

Sunset Bay Ln, Pearland, TX 77584. The purchase consisted of two transactions from BBT 1 (an

account in the name of Advance Pharmacy): the first, a check for $52,108.59 consisted of

approximately $9,884.38 in illegal proceeds; the second, an internet payment of $102,107.59

consisted of approximately $101,567.60 of illegal proceeds.

       82.     Therefore, this property is subject to forfeiture as it was purchased with illegal

proceeds, and the purchase also constituted violation of 18 U.S.C. §§ 1956, 1957.

1219 Oahu Dr, Tiki Island, TX 77554

       83.     In or around April and May 2017, S. Simpson purchased real property at 1219 Oahu

Dr, Tiki Island, TX 77554.

       84.     In order to effectuate that purchase, on or around April 25, 2017, S. Simpson moved

$800,000 (containing of approximately $778,999.89 in illegal proceeds) in a wire transfer from an

Advance Pharmacy Account (BBT 1) to her personal account JPMC Simpson Personal

Checking.

       85.     On or around May 12, 2017, S. Simpson completed the transaction with a

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$746,587.25 payment (containing approximately $705,369.80 in illegal proceeds) to Capital Title.

       86.     Therefore, this property is subject to forfeiture as it was purchased with illegal

proceeds, and the purchase also constituted violations of 18 U.S.C. §§ 1956, 1957.

2331 Nashville Ave New Orleans, LA 70015

       87.     In and around February and March 2018, S. Simpson purchase real property at 2331

Nashville Ave New Orleans, LA 70015.

       88.     In order to effectuate the transaction, S. Simpson wrote a check for $1,500,000

(containing approximately $1,487,482.95 in illegal proceeds) to herself from an Advance

Pharmacy LLC account (BBT 1). The check was then deposited into JPMC Simpson Personal

Checking on or around February 16, 2018.

       89.     On or around March 9, 2018, S. Simpson completed the transaction with a

$1,003,648.28 wire transfer (containing approximately $1,001,333.87 in illegal proceeds) to

Bayou Title.

       90.     Therefore, this property is subject to forfeiture as it was purchased with illegal

proceeds, and the purchase also constituted violations of 18 U.S.C. §§ 1956, 1957.

4028 Chatham Ln, Houston, TX 77027

       91.     In or around August and September 2018, S. Simpson purchased real property at

4028 Chatham Ln, Houston, TX 77027.

       92.     In order to effectuate the purchase, S. Simpson transferred $2,400,000 (containing

approximately $2,399,250.24 in illegal proceeds) from an Advance Pharmacy Account (BBT 1)

to JPMC Simpson Personal Checking, on or around September 13, 2018.

       93.     The transaction was completed the next day, September 14, 2018, when S. Simpson

wired $1,668,677.70 (containing approximately $1,667,833.27) to Infinity Title Company.



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       94.    Therefore, this property is subject to forfeiture as it was purchased with illegal

proceeds, and the purchase also constituted violations of 18 U.S.C. §§ 1956, 1957.

31 Riverstone Island Dr., Sugarland TX 77479

       95.    In or around October and November 2021, S. Simpson purchased real property at

31 Riverstone Island Dr., Sugarland TX 77479.

       96.    This purchase consisted of two transactions: on or around October 22, 2021, a

$19,500.00 wire transfer (containing approximately $19,492.06 in illegal proceeds) from JPMC

Simpson Trust 2 to Patten Title Company via Texas Capital; and on or around November 2, 2021,

a $2,061,622.83 wire transfer (containing approximately $2,061,062.70 in illegal proceeds) from

JPMC Simpson Trust 1 to Patten Title Company via Texas Capital.

       97.    Therefore, this property is subject to forfeiture as it was purchased with illegal

proceeds, and the purchase also constituted violation of 18 U.S.C. §§ 1956, 1957.

5213 Lillian St, Houston, TX 77007

       98.    In or around June and July 2022, S. Simpson purchased real property at 5213 Lillian

St, Houston, TX 77007.

       99.    This purchase was primarily funded by a $595,925.76 wire transfer (containing

approximately $433,861.12 in illegal proceeds), sent from JPMC Simpson Trust 2 to Spark Title

LLC.

       100.   Therefore, this property is subject to forfeiture as it was purchased with illegal

proceeds, and the purchase also constituted violation of 18 U.S.C. §§ 1956, 1957.




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                  DEFENDANT VEHICLES ARE SUBJECT TO FORFEITURE


       101.    Additionally, each of the Defendant Vehicles was purchased with illegal proceeds

generated by the underlying fraud scheme. Additionally, the purchase of each of the Defendant

Vehicles constitutes at least one discrete violation of 18 U.S.C. § 1957, as each purchase utilized

more than $10,000 in illegal proceeds.

Boat – 2017 Blue Wave 2200 Pure Bay
Serial No. PWV13872F617

       102.    On or around October 23, 2017, S. Simpson made a $1,000.00 purchase (deposit)

towards a boat (2017 Blue Wave 2200 Pure Bay) utilizing a card related to her JPMC Simpson

Personal account. The payment was made to North Texas Marine. On or around October 23,

2017, S. Simpson utilized a cashier check in the amount of $64,813.73 to complete the purchase

of the boat. The funds for the $64,813.73 cashier’s check came from BBT 1. The financial

investigation determined that approximately $51,816.50 of the cashier’s check purchase payment

was directly traceable to fraud proceeds.

2016 Jaguar Vehicle
VIN: SAJWA2GE1GMW0206

       103.    On or around November 1, 2017, S. Simpson purchased a 2017 Jaguar, using a

wire transfer in the amount of $72,093.69 from her personal checking account, JPMC Simpson

Personal. The financial investigation determined that approximately $71,891.89 of the purchase

payment was directly traceable to fraud proceeds.

2017 Land Rover Vehicle
VIN: SALGS2FK6HA369005

       104.    On or around November 17, 2017, S. Simpson purchased a 2017 Land Rover, via

check # 1076, in the amount of $134,679.47. This purchase was made utilizing funds from S.



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Simpson’s personal checking account, JPMC Simpson Personal. The financial investigation

determined that approximately $128,750.31 of the purchase payment was directly traceable to

fraud proceeds.

2018 Tesla 4dr SUV Vehicle
VIN: 5YJXCBE25JF104983

       105.    On or around June 20, 2018, S. Simpson purchased a 2018 Tesla vehicle in the

amount of $125,005.13. This purchase was made utilizing funds from S. Simpson’s Advance

Pharmacy business operating account, BBT 1. An initial deposit of $2,500.00 was made

previously for the Tesla on May 10, 2018, from an unknown account. Total funds used to

purchase the Tesla was determined to be $127,505.13. The financial investigation determined

that the entirety of the $125,005.13 purchase payment was directly traceable to fraud proceeds.

2021 Jeep Grand Cherokee Vehicle
VIN: 1C4RJFAG2MC753861

       106.    On or around November 29, 2021, S. Simpson purchased a 2021 Jeep Grand

Cherokee vehicle in the amount of $44,250.00, via wire transfer. This purchase was made

utilizing funds from Simpson’s JP Morgan Chase Trust Account, JPMC Simpson Trust 2. The

financial investigation determined that the entirety of the $44,250.00 purchase payment was

directly traceable to fraud proceeds.

2021 Mercedes Vehicle G63 (purchased from Lamborghini of Houston)
VIN: W1NYC7HJ4MX415540

       107.    On or around February 28, 2022, S. Simpson purchased a 2021 Mercedes G63

vehicle in the amount of $100,000.00, via wire transfer. This purchase was made utilizing funds

from JPMC 1. The financial investigation determined that approximately $99,214.92 of the

purchase payment was directly traceable to fraud proceeds. Part of this purchase included a




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$60,000.00 trade in of a previously owned 2014 Mercedes by S. Simpson, wherein of the

$60,000.00, all were determined to be traced proceeds.

       108.    In sum, each of the target vehicles is subject to forfeiture, both as proceeds of the

underlying fraud scheme (generated by violations of 18 U.S.C. §§ 1341, 1343, 1347 and 1349),

and as property involved in money laundering (specifically violations of 18 U.S.C. § 1957).



                                         CONCLUSION

       109.    The Defendant Properties are all subject to forfeiture pursuant to 18 U.S.C. §

981(a)(1)(C), as the proceeds of violations of 18 U.S.C. §§ 371 (Conspiracy to Defraud the United

States and Pay and Receive Kickbacks), 1035 (False Statements Relating to Healthcare Matters),

1343 (Wire Fraud), 1347 (Health Care Fraud), and 1349 (Conspiracy to Commit Health Care Fraud

and Wire Fraud) and 42 U.S.C. § 1320a-7b(b) (the Anti-Kickback Statutes) as part of their scheme

to defraud the Federal Employee Compensation Act (“FECA”) program, administered by the U.S.

Department of Labor, Office of Workers’ Compensation Programs (“DOL-OWCP”), and other

federal programs.

       110.    The Defendant Properties are also all subject to forfeiture pursuant to 18 U.S.C. §

981(a)(1)(A), as property involved in violations of Title 18, United States Code, Sections 1956

(Laundering of monetary instruments) and 1957 (Engaging in monetary transactions in property

derived from specified unlawful activity) as part the money laundering scheme.




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                       NOTICE TO ANY POTENTIAL CLAIMANT

       YOU ARE HEREBY NOTIFIED if you assert an interest in the property subject to

forfeiture and want to contest the forfeiture, you must file a verified claim which fulfills the

requirements set forth in Rule G of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions. The verified claim must be filed no later than 35 days from the date

this complaint was sent to you in accordance with Rule G(4)(b); or, if this Complaint was not sent

to you, no later than 60 days after the first day of publication of notice on an official internet

government forfeiture site, in accordance with Rule G(5)(a)(ii)(B).

       An answer or a motion under Fed. R.Civ.P. 12 must be filed no later than 21 days after

filing the claim. The claim and answer must be filed with the United States District Clerk for the

Southern District of Texas, and a copy must be served upon the undersigned Assistant United

States Attorney at the address provided in this Complaint.




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                                    RELIEF REQUESTED

       The United States will serve notice, along with a copy of the Complaint, on the property

owner(s) and on persons who reasonably appear to be potential claimants.

       The United States seeks a final judgment forfeiting the Defendant Properties to the United

States and requests any other relief to which the United States may be entitled.

                                                     Respectfully submitted,

                                                     ALAMDAR S. HAMDANI
                                                     United States Attorney

                                                      s/Brandon L. Fyffe
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                                                     1000 Louisiana, Suite 2300
                                                     Houston, Texas 77002
                                                     Telephone (713) 567-9000
                                                     Fax: (713) 718-3300




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                                      VERIFICATION

       I, Austin Denney, Special Agent with United States Postal Service – Office of the Inspector

General, declare under the penalty of perjury, as provided by 28 U.S.C. ' 1746, that I have read the

foregoing Verified Complaint for Civil Forfeiture In Rem and Notice to Potential Claimants, and

that the facts stated in the Complaint are based upon my personal knowledge, upon information

obtained from other law enforcement personnel, or upon information I obtained in the course of

my investigation. Those facts are true and correct to the best of my knowledge and belief.


Executed on the 26th day of June, 2023.

                                                     _________________________
                                                     Austin Denney
                                                     Special Agent
                                                     USPS - OIG




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